18-22294-rdd            Doc 22      Filed 04/03/18          Entered 04/03/18 13:05:26                   Main Document
                                                           Pg 1 of 4


Leo Fox, Esq.
630 Third Avenue - 18th Floor
New York, New York 10017
(212) 867-9595
leo@leofoxlaw.com


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
In re:                                                                         Chapter 11

QUINCY ST III CORP.                                                            Case No. 18-22294 (RDD)

                                             Debtor.
-------------------------------------------------------------X

                                     OPPOSITION TO QUASH MOTION

TO:       THE HONORABLE ROBERT D. DRAIN
          UNITED STATES BANKRUPTCY JUDGE

          The Opposition of the above Debtor, by Leo Fox, Esq., its attorney, to the Motion of

Movant to Quash, respectfully represents.

          1.         On February 22, 2018, the Debtor filed a Petition under Chapter 11 of the

Bankruptcy Code. The Debtor continues to act as a Debtor in Possession pursuant to § 1107 of

the Bankruptcy Code.

          2.         On March 12, 2018 slightly over two (2) weeks later, 1077 Madison Street LLC,

(the “Assignee” and/or “Mortgagee”), moved to lift stay with respect to the Debtor’s real

property located at 299 Quincy Street, Brooklyn, New York (the “Real Property”) contending

cause exists under § 362(d)(1), (2) and (4). On March 28, 2018, the Debtor submitted its

opposition to the lift stay motion alleging defenses including that the movant was not a holder for

value and had knowledge of the Debtor’s interest in the real property at the time that the movant

purportedly obtained its assignment.

          3.         On March 19, 2018, the Debtor served a subpoena deuces tecum upon My

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18-22294-rdd     Doc 22      Filed 04/03/18    Entered 04/03/18 13:05:26     Main Document
                                              Pg 2 of 4



Portfolio LLC, having an office and place of business at 390 North Broadway, Suite 130,

Jericho, New York, 11753, Attn. Ira M. Bierman, Esq. The Debtor obtained this information by

reviewing certain of the transfers by assignment of the mortgage in question. It appeared that

North Shore Investors Realty Group, by Joseph J. Gherardi, identified as CEO, assigned the

subject note and mortgage to My Portfolio LLC by assignment dated May 18, 2011, and issued a

corrective assignment dated March 16, 2013. Thereafter, My Portfolio LLC, by the same Joseph

J. Gherardi, purportedly assigned the note and mortgage to the movant herein (See exhibits C, D,

and E, attached to the Debtor’s Opposition to the Lift Stay Motion). The New York State

Division of Corporation lists the address for service of process of North Shore Investors Realty

Group as c/o Ira Bierman, Esq, with an address located in Syosset, New York. The assignment

reflects that Ira Bierman notarized Joseph Gherardi’ s signature. The assignment specifically

identifies the address of My Portfolio LLC as 390 North Broadway, Jericho, New York. Thus, it

is a contention of the Debtor that North Shore Investors Realty Group and My Portfolio LLC are

affiliated entities having the same principals.

       4.      The Affidavit of Service of the subpoena (Exhibit A) reflect that the subpoena

was served upon My Portfolio LLC at 390 North Broadway, Suite 130, Jericho, New York, Attn.

Ira M. Bierman, Esq.

       5.      On March 22, 2018, the Debtor, by its attorney, inquired of Ira Bierman on the

status of Mr. Bierman’s obligation to provide documents. Thereafter, Mr. Bierman and Debtor’s

counsel had a discussion wherein Mr. Bierman indicated that Mr. Torchio was the person who

could provide information and subsequently provided an email address for Mr. Torchio. Mr.

Torchio and Debtor’s counsel had a conversation on March 22, 2018, wherein Mr. Torchio



                                                  2
18-22294-rdd     Doc 22     Filed 04/03/18    Entered 04/03/18 13:05:26        Main Document
                                             Pg 3 of 4



indicated that he would provide the documents, including a note sell agreement but requested a

statutory basis for the subpoena. Debtor’s counsel responded that the subpoena had been issued

in an contested matter. Debtor’s counsel confirmed the conversation by email, which was

followed by a denial by Mr. Torchio of the above conversations. The Debtor delivered copies of

the subpoena and the deposition date to the Debtor’s counsel, Mr. Ravert. (copies of the emails

dated March 22, 2018 are all attached hereto collectively as Exhibit B).

       6.      None of the movant’s arguments have any merit. The Debtor may issue a

subpoena in a “contested matter” under the Bankruptcy Rule 9014, which incorporates the

discovery rules provided in an adversary proceeding. It has been noted that in connection with

motions to Lift Stay, which generally has a very short time period for a hearing, that discovery

may, and should, be conducted on an expedited basis in order to obtain disclosure of certain facts

(SSEE 2 Bankruptcy Practice Handbook, §11.87 (2nd Edition)). Rule 9014 specifically

contemplated the use of a deposition.

       7.      The reach of the subpoena is reachable and designed to collect information, which

is non-privileged and reasonably targeted to the issues. Thus, the subpoena (attached as Exhibit

A to the Motion to Quash) request the normal closing documents and files regarding the transfer

by assignment and including the consideration, which have been paid by the movant for the

mortgage. The other category of documents requested (request no. 4) seeks the litigation files

involving the various foreclosure actions. Federal Rule 5 does not require discovery documents,

such as subpoenas, to be filed in court.

       8.      My Portfolio LLC claims that it is unable to locate and produce documents as

quickly as the notice required in the subpoena. As the emails evidence, My Portfolio LLC never



                                                3
18-22294-rdd       Doc 22      Filed 04/03/18    Entered 04/03/18 13:05:26      Main Document
                                                Pg 4 of 4



made such a claim at the time of the conversations. Certainly, the Debtor would have granted

additional time.

       9.      None of the movant’s arguments should preclude movant’s compliance with a

lawfully issued subpoena. This continued chain of assignees should not be permitted to continue

the perpetration of a fraud.

       WHEREFORE it is respectfully requested that the Court deny the motion and grant such

other and further relief as may be proper.

Dated: New York, New York
       April 3, 2018

                                                      Respectfully submitted,

                                                      /s/Leo Fox______________
                                                      Leo Fox (LF-1947)
                                                      Attorney for Debtor
                                                      630 Third Avenue - 18th Fl.
                                                      New York, New York 10017
                                                      212-867-9595
                                                      leo@leofoxlaw.com




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